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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


  DAVID L. COUNTS,
                                                     4:23-CV-04103-KES
                           Plaintiff,

              vs.                              ORDER ON GTL’S MOTION TO
                                             DISMISS, ARAMARK’S MOTION TO
  KELLIE WASKO, in her individual and        DISMISS, AND RELATED MOTIONS
  official capacities; BRENT FLUKE, in
  his individual and official capacities;
  ALEJANDRO REYES, in his individual
  capacity; REBECCA SCHIEFFER, in her
  individual capacity; ROB CARUNA, in
  his individual capacity; MARK
  STOEBNER, in his individual capacity;
  TRAVIS TJEERDSMA, in his individual
  capacity; LAINE SCHRYVERS, in his
  individual capacity; TAMMY DOYLE, in
  her individual capacity; MIKE DOYLE,
  in his individual capacity; LEE
  KAUFENBERG, in his individual
  capacity; KIM HALVERSON, in her
  individual capacity; DR. AARON
  HAYNES, in his official and individual
  capacities; KRIS VENOSDEL, in his
  individual capacity; TIFFANY VOIGT, in
  her individual capacity; GTL
  TECHNOLOGY, aka ViaPath
  Technology, in its individual capacity;
  JENNIFER WILSON, in her individual
  capacity; STEPHANIE HAMILTON, in
  her individual capacity; KARRISA
  ZIMMER, in her individual capacity;
  BRENDA MUDDER, in her individual
  capacity; TRACY FISCHER, in her
  individual capacity; CANDICE FEJFAR,
  in her individual capacity; BRITTNEY
  MCGRATH, in her individual capacity;
  DAYNA KLAWITTER, in her individual
  capacity; JANELLE BASTEMEYER, in
  her individual capacity; AMANDA
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  DEJONG, in her individual capacity;
  ELIZABETH PAUL, in her individual
  capacity; RACHEL TYCZ, in her
  individual capacity; STEPHEN BAKER,
  in his individual capacity; CASSIE
  DEFENBAUGH, in her individual and
  official capacities; MARRY [sic]
  CARPENTER, in her individual
  capacity; BRITTNEY LENGKEEK, in her
  individual and official capacities; DR.
  MELVIN WALLINGA, in his official and
  individual capacities; ARAMARK FOOD
  SERVICES, in its official capacity;
  UNKNOWN DOC EMPLOYEES, in their
  individual and official capacities;
  UNKNOWN DEPARTMENT OF HEALTH
  EMPLOYEES, in their individual and
  official capacities; UNKNOWN DOC
  CONTRACTORS, in their individual and
  official capacities; AUDRA STROM, in
  her individual capacity; ROBYN STOLZ,
  in her individual capacity; VANESSA
  GEBES, in her individual capacity; DEB
  EILERS, in her individual capacity;
  ADDYSON AGUIRRE, in her individual
  and official capacities; CARISSA
  WAREMBOURG, in her individual
  capacity; KIM LIPPINCOTT, in her
  individual capacity; JOSEPHINE
  PECHOUS, in her individual and official
  capacities; TABITHA LARSEN, in her
  individual and official capacities;
  SUMMIT FOOD SERVICE; KELLY
  TJEERDSMA, in her individual and
  official capacities; MELISSA MATURAN,
  in her official capacity; KAYLA TINKER,
  in her individual and official capacities;
  CASSIDY SEGICH, in her individual
  and official capacities; and ANGELA
  PARALIGIA, in her individual and
  official capacities,

                           Defendants.




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        Plaintiff, David L. Counts, filed a pro se civil rights lawsuit under 42

  U.S.C. § 1983 and 42 U.S.C. § 1985. Docket 1. Counts’s claim against GTL

  Technology, aka ViaPath Technology (GTL), alleging deprivation of his First

  Amendment right of access to the courts survived § 1915A screening. Docket

  20 at 76–77. GTL moves to dismiss Counts’s claim under Federal Rule of Civil

  Procedure 12(b)(6). Docket 108. Counts’s conditions-of-confinement claim

  against Aramark Food Services (Aramark) survived § 1915A screening. Docket

  20 at 79. Aramark moves to dismiss Counts’s conditions-of-confinement claim

  under Federal Rule of Civil Procedure 12(b)(6). Docket 128. The court now

  considers these motions along with the parties’ related motions.

  I.    Legal Standard

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6)

  challenges the legal sufficiency of the complaint. Neitzke v. Williams, 490 U.S.

  319, 326–27 (1989). When considering a Rule 12(b)(6) motion, the facts alleged

  in the complaint must be considered true, and all inferences must be drawn in

  favor of Counts, the nonmoving party. Strand v. Diversified Collection Serv.,

  Inc., 380 F.3d 316, 317 (8th Cir. 2004) (citing Stone Motor Co. v. Gen. Motors

  Corp., 293 F.3d 456, 465 (8th Cir. 2002)). To survive a motion to dismiss, the

  complaint must include “enough facts to state a claim to relief that is plausible

  on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). To meet the

  plausibility standard, the complaint must contain “factual content that allows

  the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). But “if as a

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  matter of law ‘it is clear that no relief could be granted under any set of facts

  that could be proved consistent with the allegations’ . . . a claim must be

  dismissed[.]” Neitzke, 490 U.S at 326–27 (quoting Hishon v. King & Spalding,

  467 U.S. 69, 73 (1984)).

  II.   GTL’s Motion to Dismiss and Related Motions

        A.      GTL’s Motion to Dismiss

        Counts’s claim against GTL alleging deprivation of his First Amendment

  right of access to the courts survived § 1915A screening. Docket 20 at 76–77.

  GTL moves to dismiss Counts’s claim under Federal Rule of Civil Procedure

  12(b)(6). Docket 108. Counts opposes GTL’s motion to dismiss. 1 Docket 131.

        When Counts commenced this lawsuit, he was incarcerated at Mike

  Durfee State Prison (MDSP). Docket 1 ¶ 5. He is now incarcerated at the South

  Dakota State Penitentiary (SDSP). Docket 19. Inmates at MDSP and the SDSP

  can access legal research materials, such as Lexis/Nexis or Westlaw, using

  tablets provided by GTL. Docket 1 ¶ 22; Docket 40 at 4. Counts alleges that

  when using a GTL tablet, he has experienced intermittent problems with

  connectivity, speed, and access. Docket 1 ¶ 386; see also id. ¶¶ 387–390. As a

  result, Counts claims that he has had problems logging onto his tablet and

  accessing LEXIS. Id. ¶ 386. Counts argues that the legal research materials

  available on the tablets are not comparable to the DOC’s prior practice of




  1 Counts styled his opposition as a motion to dismiss GTL’s motion to dismiss.

  Docket 131.
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  providing law books and a contract attorney to assist inmates with legal filings.

  Id. ¶¶ 379–380, 382–383, 391.

        GTL argues that Counts’s access-to-the-courts claim should be

  dismissed because Counts’s complaint and supplements do not allege any

  actual injury. See generally Docket 109. To state a viable claim for violation of

  his First Amendment right to access the courts, Counts must allege he suffered

  an actual injury as a result of the defendant’s conduct. Lewis v. Casey, 518

  U.S. 343, 349 (1996). To satisfy the actual injury requirement, Counts must

  “demonstrate that a nonfrivolous legal claim had been frustrated or was being

  impeded.” Johnson v. Missouri, 142 F.3d 1087, 1089 (8th Cir. 1998) (quoting

  Lewis, 518 U.S. at 353). As the Supreme Court has explained the actual injury

  requirement:

               Because Bounds did not create an abstract, freestanding right
        to a law library or legal assistance, an inmate cannot establish
        relevant actual injury simply by establishing that his prison’s law
        library or legal assistance program is subpar in some theoretical
        sense. . . . Insofor as the right vindicated by Bounds is concerned,
        meaningful access to the courts is the touchstone, and the inmate
        therefore must go one step further and demonstrate that the alleged
        shortcomings in the library or legal assistance program hindered his
        efforts to pursue a legal claim. He might show, for example, that a
        complaint he prepared was dismissed for failure to satisfy some
        technical requirement which, because of deficiencies in the prison’s
        legal facilities, he could not have known. Or that he had suffered
        arguably actionable harm that he wished to bring before the courts,
        but was so stymied by inadequacies of the law library that he was
        unable to even a file a complaint.

  Lewis, 518 U.S. at 351 (internal quotation omitted). According to the Eighth

  Circuit, “Lewis limits the scope of the right of access to the courts to the filing


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  of an action attacking a sentence or challenging conditions of confinement.”

  Cody v. Weber, 256 F.3d 764, 770 (8th Cir. 2001).

        In his response to GTL’s motion to dismiss, Counts asserts that because

  Westlaw is “sub-par and difficult to navigate[,]” it has limited his “ability to file

  legal action, in a timely manner which has caused injury to [his] lungs and

  heart.” Docket 131 at 2; see also id. (“GTL is providing legal service to [Counts]

  that is sub-par and difficult to navigate and has very restricted services or

  use.”). Counts’s complaint and supplements do not allege that his difficulties

  accessing or navigating any electronic legal research database have actually

  impeded his ability to file a meritorious claim challenging his conditions of

  confinement. See generally Docket 1 ¶¶ 360–398; Docket 40 at 4; Docket 40-1

  at 9–13. Further, alleged physical injury caused by allegedly unconstitutional

  conditions of confinement a prisoner is challenging in pending litigation is not

  the type of injury the Supreme Court has recognized as an actual injury

  sufficient to state a claim for violating an inmate’s First Amendment right to

  access the courts. According to the Supreme Court, “we leave it to prison

  officials to determine how best to ensure that inmates . . . have a reasonably

  adequate opportunity to file nonfrivolous legal claims challenging their . . .

  conditions of confinement. . . . [and] it is that capability . . . that is the

  touchstone.” Lewis, 518 U.S. at 356–57. “The state has no obligation to ‘enable

  the prisoners . . . to litigate effectively once in court.’ ” White v. Kautzky, 494

  F.3d 677, 680 (quoting Lewis, 518 U.S. at 354) (italics in original).




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        Counts provided a copy of an article reporting that GTL had been

  sanctioned for discovery violations in a class action suit pending in the

  Northern District of Georgia. Docket 131 at 4. Counts argues that the article

  shows “that GTL has a history of providing false information and documents to

  the court[, and] [t]he same attorneys . . . [are] representing GTL in this case, as

  the case referenced.” Id. at 5. GTL contends that incorporating a news article

  regarding a wholly unrelated case in a brief opposing a motion to dismiss is

  “inappropriate.” Docket 148 at 5–6. The article Counts incorporates identifies

  only the attorneys who represented the plaintiffs in the Georgia class action

  suit. Docket 131 at 4. The article does not identify the attorneys who

  represented GTL in the Georgia action. Id. GTL’s counsel states that different

  attorneys from different law firms represented GTL in the Georgia class action,

  Docket 148 at 6, and a review of the CM/ECF docket entries in the Georgia

  class action confirms that GTL’s counsel’s representation to this court is

  accurate. Githieya v. Glob. Tel*Link Corp., 1:15-CV-986 (N.D. Ga.). Because

  GTL has filed a motion to dismiss testing the sufficiency of the allegations in

  Counts’s complaint, whether GTL was sanctioned for discovery violations in a

  different case, pending in a different jurisdiction, and involving different

  attorneys, the referenced news article has no bearing on whether Counts’s

  claims against GTL in this case should be dismissed under Rule 12(b)(6).

        B.    Counts’s Motion for Leave to Respond to GTL’s Reply Brief and
              to Submit Additional Evidence

        Counts seeks leave to “submit [a] reply to GTL (AKA VIA PATH) motion to

  dismiss, and [to add] new facts and new documents showing chain of
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  causation.” Docket 159. See also Docket 180 (motion for leave to add new

  evidence). GTL opposes Counts’s motions. Dockets 176, 188.

        The District of South Dakota’s local rules do not contemplate surreply

  briefs in opposition to a motion as a matter of right. D.S.D. Civ. LR 7.1.B. A

  party may seek leave for permission to file a surreply when the moving party’s

  reply brief contains new information or arguments for which an opportunity to

  respond is needed. Atuahene v. S.D. State Univ., 4:07-CV-04099-KES, 2009 WL

  1586952, at *8 (D.S.D. June 4, 2009) (citing Skodmin v. Olivia, 2006 WL

  2711481, at *1 (D. Colo. Sept. 20, 2006)). GTL’s reply brief in support of its

  motion to dismiss (Docket 148) does not contain any new information or

  arguments that warrant a surreply. Counts’s motion for leave to respond to

  GTL’s reply brief (Docket 159) is denied.

        Counts’s motion for leave to respond to GTL’s reply brief (Docket 159),

  along with his motion for leave to submit additional evidence (Docket 198), is

  denied for the added reason that whether Counts ultimately will be able to

  provide evidence to support the allegations in his complaint and the various

  supplements he has filed is not the relevant issue before the court. GTL filed a

  Rule 12(b)(6) motion to dismiss, which means that the court must accept as

  true all his well-pleaded allegations, including his allegation that because of

  “problems with connectivity, speed, and access[,] . . . many inmates, including

  [Counts], frequently have problems logging onto the [GTL] tablet and reaching

  LEXIS [now Westlaw] or any of the included apps.” Docket 1 ¶ 386; see also id.

  ¶ 395 (alleging that implementation of Westlaw “has been slow and only

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  intermittently available”). Counts seeks to offer evidence to refute GTL’s

  assertion that “there were no issues with [Counts] being able to access the

  courts, through their client[’]s West Law application[.]” Docket 198 ¶ 2. GTL did

  not move to dismiss Counts’s access-to-courts claim because there are no

  issues with the GTL tablets or the legal research applications available on the

  tablets. GTL moved to dismiss Counts’s access-to-courts claim because Counts

  does not allege with any specificity that a specific nonfrivolous claim or lawsuit

  has actually been impeded because of issues using a GTL tablet. Docket 109.

  Counts’s proposed surreply and additional evidence do not cure his failure to

  satisfy the actual injury element of an access-to-courts claim. For these

  reasons, GTL’s motion to dismiss (Docket 108) is granted, and Counts’s

  motions to dismiss GTL’s motion to dismiss (Docket 131), and motion for leave

  to add new evidence (Docket 198) are denied.

        C.    Counts’s Request for Sanctions

        Counts requests that the court sanction GTL’s counsel “for being

  dishonest with the court” (Docket 180 at 2) and “lying to the court” (Docket 198

  at 2). The record does not indicate that GTL’s counsel has engaged in any

  conduct that would be a basis for sanctions. Counts’s requests for sanctions

  against GTL’s counsel (Docket 180 at 2; Docket at 198 at 2) are denied.




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II.   Aramark’s Motion to Dismiss
      Aramark moves to dismiss Counts’s claims for failure to state a claim

upon which can be granted. Docket 128. Counts opposes Aramark’s motion to

dismiss. 2 Docket 197.

      A.    Counts’s Motion to Strike Aramark’s Motion to Dismiss as
            Untimely
            1.    Procedural Background

      Before the court can addresses the merits of Aramark’s motion to

dismiss, the court must consider Counts’s motion to strike Aramark’s motion

to dismiss as untimely. Aramark’s motion to dismiss was filed eight days late

(Docket 141 at 5), and Aramark did not file a motion pursuant to Federal Rule

of Civil Procedure 6(b)(1) to extend the time for responding to Counts’s

complaint. Counts moved for summary judgment in his favor and against

Aramark because Aramark did not timely respond to the complaint. Docket

157. Although the court ruled that Counts was not entitled to summary

judgment because Aramark did not timely respond to this complaint (Docket

178 at 5), the court construed Counts’s March 27, 2024 letter (Docket 172) as

a motion to strike Aramark’s motion to dismiss as untimely and ordered

Aramark to show cause why its motion to dismiss should not be stricken as

untimely. Docket 178 at 5. Aramark contends that its failure to meet the

deadline to respond to Counts’s complaint was due to excusable neglect and




2Counts styled his opposition as a motion to dismiss Aramark’s brief in support
of its motion to dismiss. Docket 197.
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that Counts’s motion to strike its motion to dismiss as untimely should be

denied. Docket 192.

              2.    Factual Background

        Aramark’s kitchen manager 3 was served on January 31, 2024. Docket

104. In response to the court’s order to show cause, Aramark’s counsel

submitted an affidavit averring that Aramark’s counsel believed that Aramark

had been served on February 9, 2024, because that is the information that

Aramark communicated to its counsel. Docket 193 ¶ 10. Believing that

Aramark had been served on February 9, 2024, Aramark’s counsel filed a

notice of appearance and motion to dismiss on February 29, 2024, before what

she believed to be the 21-day deadline to answer or otherwise respond. Id.

¶ 12.

              3.    Legal Analysis

        Federal Rule of Civil Procedure 6(b)(1)(B) permits the court to extend the

time for a party to submit a filing “if the party failed to act because of excusable

neglect.” “Excusable neglect is an ‘elastic concept’ that empowers courts to

accept, ‘where appropriate, . . . late filings caused by inadvertence, mistake, or

carelessness, as well as by intervening circumstances beyond the party’s

control.’ ” Chorosevic v. MetLife Choices, 600 F.3d 934, 946 (8th Cir. 2010)

(quoting Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380,



3 Aramark notes that its registered agent in Pierre, South Dakota, was not served

with a copy of the summons and complaint. Docket 192 at 4; see also Docket
193 ¶ 5 (“service should have been directed to its registered agent”). But Aramark
did not move to dismiss for insufficiency of service of process under Rule 12(b)(5).
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392, 388 (1993)). “The determination of whether neglect is excusable ‘is at

bottom an equitable one, taking account of all relevant circumstances

surrounding the party’s omission.’ ” Id. (quoting Pioneer, 507 U.S. at 395).

Factors to consider include: “(1) the possibility of prejudice to the [non-moving

party], (2) the length of the delay and the potential impact on judicial

proceedings, (3) the reasons for the delay, including whether the delay was

within the party’s reasonable control, and (4) whether the party acted in good

faith.” Kurka v. Iowa Cnty., 628 F.3d 953, 959 (8th Cir. 2010).

      Taking into account the relevant factors and Aramark’s explanation, the

court declines to strike Aramark’s motion to dismiss as untimely. In this case,

the delay was brief, only eight days, and early in the litigation. Counts has not

argued this this brief delay will prejudice him or have any impact on the

proceedings. The Eighth Circuit has “frequently endorsed the strong judicial

policy against default judgments,” and has held that “a marginal failure to

comply with time requirements” should not prejudice the non-moving party.

Oberstar v. F.D.I.C., 987 F.2d 494, 504 (8th Cir. 1993) (internal quotation and

citation omitted); see also Chorosevic, 600 F.3d at 947 (recognizing that there

may be more justification for allowing an extension of time when the judicial

disfavor for default is implicated).

      Aramark has provided a satisfactory explanation for its failure to timely

respond. When Aramark retained counsel to defend this action, Aramark did

not communicate the correct date of service. Docket 193 ¶¶ 4, 10. There is no

indication this was anything other than an inadvertent mistake, and there was

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no bad faith. 4 Excusable neglect “does not require a showing that the party was

without fault[.]” Huggins v. FedEx Ground Package Sys., Inc., 592 F.3d 853, 857

(8th Cir. 2010). Under similar circumstances, the Eighth Circuit has held that

it is an abuse of discretion not to find excusable neglect. See, e.g., Union Pac.

R.R. Co. v. Progress Rail Servs. Corp., 256 F.3d 781, 782–83 (8th Cir. 2001)

(finding that district court abused its discretion by not finding excusable

neglect where defendant failed to file an answer because of “faulty record-

keeping” in the legal department); Johnson v. Dayton Elec. Mfg. Co., 140 F.3d

781, 784–85 (8th Cir. 1998) (holding an abuse of discretion occurred when the

district court did not set aside a default that resulted from “poor

communication” between the defendant, its attorney, and its insurer).

      B.     Aramark’s Motion to Dismiss

      Counts alleges that Aramark contracts with the DOC as the food and

commissary provider. Docket 1 ¶ 42; Docket 1 at 131. A corporate entity is

“liable under § 1983 only when the entity itself is a ‘moving force’ behind the

violation. That is, the entity’s official ‘policy or custom’ must have ‘caused’ the

constitutional violation . . . .” Clay v. Conlee, 815 F.2d 1164, 1170 (8th Cir.



4Aramark’s response to the order to show cause states that the return of service

was filed with the court on February 7, 2024 (Docket 192 at 1) but does not state
whether Aramark’s counsel checked CM/ECF to confirm the date of service after
she was first contacted on February 14, 2024. Rather, it appears that Aramark’s
counsel relied on what her client communicated regarding the date of service
and filed a responsive pleading twenty days after the date she believed was the
date of service. Id. at 4–5; Docket 193 ¶ 10. Given the totality of the
circumstances when considering the relevant factors identified by the Supreme
Court and the Eighth Circuit, in this case, the court concludes that this
inadvertence or oversight constitutes excusable neglect.
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1987). Aramark argues that Counts’s “Complaint is devoid of any allegations

that support the existence of a policy or widespread custom sufficient to

sustain a claim for relief under Monell.” Docket 129 at 5. The court disagrees.

      A § 1983 complaint does not need to “specifically plead the existence of

an unconstitutional policy or custom to survive a motion to dismiss.”

Crumpley-Patterson v. Trinity Lutheran Hosp., 388 F.3d 588, 591 (8th Cir. 2004)

(citing Doe ex rel. Doe v. Sch. Dist., 340 F.3d 605, 614 (8th Cir. 2003)). To

establish corporate liability premised on an unofficial custom rather than a

policy, a plaintiff must allege facts to support a finding of “a continuing,

widespread, persistent pattern of unconstitutional misconduct by the

[corporate] entity’s employees” and “deliberate indifference to or tacit

authorization of such conduct by the [corporate] entity’s policymaking officials

after notice to the officials of that misconduct[.]” Brewington v. Keener, 902

F.3d 796, 801 (8th Cir. 2018) (quoting Corwin v. City of Indep., 829 F.3d 695,

700 (8th Cir. 2016)). If the complaint includes some allegation, reference, or

language that creates an inference that the conduct resulted from an

unconstitutional policy or custom, then the Monell liability claims will survive a

motion to dismiss. Crumpley-Patterson, 388 F.3d at 591; see also Doe, 340 F.3d

at 614 (“At a minimum, a complaint must allege facts which would support the

existence of an unconstitutional policy or custom.”).

      Aramark describes Counts’s allegations as “receiv[ing] occasional

servings of food that were inadequate or unsatisfactory in some way[.]” Docket

129 at 9. Giving Counts the benefit of all reasonable inferences, his complaint

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cannot be construed as alleging that he receives on occasion inadequate or

unsatisfactory food. Counts began working in the MDSP kitchen in December

2022 but was terminated due to a write-up. Docket 1 ¶¶ 208, 327, 332.

Counts’s job was to order food for and to prepare Kosher diet trays. Id. ¶ 327.

Halverson told Counts “to keep food costs low and to make the Kosher diets

worse so inmates would go back to the regular meals.” Id. Counts was told to

ignore the menu and make food that did not meet the calorie count or nutrition

requirements “because no one ever looks at the kitchen and the State will

protect [Aramark’s on-site supervisor] from any questions.” Id. ¶ 332. Counts

alleges that diet trays often include substitutions of items that are not of

equivalent nutritional values. Id. ¶ 357 (emphasis added). If the allegations in

Counts’s complaint are accepted as true, which the court must do at this stage,

Aramark’s on-site supervisor, who appears responsible for executing Aramark’s

contract with the DOC, has engaged in a widespread pattern, which is

continuing, of intentionally providing meals that are nutritionally inadequate or

do not comply with inmates’ religious beliefs to save money. These allegations

are sufficient to state an Eighth Amendment conditions of confinement claim

against Aramark. Aramark’s motion to dismiss (Docket 128) is denied.

      Thus, it is ORDERED:

      1.    That GTL’s motion to dismiss (Docket 108) is granted, and Counts’s

            motion to dismiss GTL’s motion to dismiss (Docket 131) is denied.




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      2.   That Counts’s motion for leave to respond to GTL’s reply brief

           (Docket 159) and his motion for leave to submit additional evidence

           (Docket 198) are denied.

      3.   That Counts’s requests for sanctions against GTL’s counsel (Docket

           180 at 2; Docket at 198 at 2) are denied.

      4.   That Counts’s motion to strike Aramark’s motion to dismiss (Docket

           172) as untimely is denied.

      5.   That Aramark’s motion to dismiss (Docket 128) is denied. Aramark

           must file its answer on or before September 18, 2024.

      6.   That Counts’s motion to dismiss (Docket 197) is denied as moot.

      Dated September 4, 2024.


                             BY THE COURT:

                             /s/ Karen E. Schreier
                             KAREN E. SCHREIER
                             UNITED STATES DISTRICT JUDGE




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